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Maria Gregory and Ayomiposi Asaolu, on behalf of themselves and all others similarly situated

Plaintiff
Case No.: 1:23-cv-01854-BPG
VS.
Johns Hopkins University, et al.
Defendant(s)
AFFIDAVIT OF SERVICE

I, Vincent Piazza, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Case Management Order, Civil Cover Sheet, Class Action
Complaint, and Notice of Related Case in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.
That on 07/18/2023 at 11:18 AM, I served Johns Hopkins University c/o Arthur P. Pineau, Interim General Counsel at 113 Garland

Hall, 3400 North Charles Street, Baltimore, Maryland 21218 with the Summons, Case Management Order, Civil Cover Sheet,

Class Action Complaint, and Notice of Related Case by serving Terri Turner, Senior Associate General Counsel, authorized to
accept service.

Terri Turner is described herein as:

Gender: Female Race/Skin: Black Age: 55 Weight: 150 Height: 5'3" Hair: Black/Gray Glasses: Yes

I solemnly affirm under the penalties of perjury that the contents of this document are true to the best of my knowledge,
information, and belief.

‘ADA

Vincent Piazza

12/43

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Client Ref Number:1161-01
Job #: 1620814

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland
MARIA GREGORY and AYOMIPOSI! ASAOLU, on )
behalf of themselves and all others similarly situated,
)
Plaintiff(s) )
v. Civil Action No. 1:23-cv-1854-BPG
JOHNS HOPKINS UNIVERSITY and JOHNS )
HOPKINS HEALTH SYSTEM, )
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) JOHNS HOPKINS UNIVERSITY
c/o ARTHUR P. PINEAU
INTERIM GENERAL COUNSEL
113 GARLAND HALL
3400 N. CHARLES ST.
BALTIMORE MD 21218

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are) ANDREA R. GOLD

TYCKO & ZAVAREE! LLP
2000 PENNSYLVANIA AVENUE NW, SUITE 1010
WASHINGTON, DC 20006

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Signature of Clerk or Deputy Clerk
